                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                         GAINESVILLE DIVISION


UNITED STATES OF AMERICA,      *
                               *
     v.                        *    CASE NO: 2:16-CR-009-RWS-JCF
                               *
LEONARDO STEEPLE et al.,       *
                               *
     Defendants.               *
__________________________________________________________________

        DEFENDANT’S REQUEST FOR PERMISSION TO APPEAL
__________________________________________________________________

      COMES NOW the Defendant, Leonardo Steeple, by and through his counsel

of record and files this request for permission to appeal and shows the Court the

following:

      On September 29, 2017, this Court entered an interlocutory order [Doc.

No.312] denying Defendants' Motions to Suppress [Doc. Nos. 109, 113, 134, 135,

136, 143, 157, 162, 207, 208, 209, 210, 214, 227, 237, and 271 in 2:16-CR-9 and

Doc. Nos. 78, 85, 110, 111, 119, 127, 140, 167, 187, and 235 in 2:16-CR-10].

      The 11th Circuit has exclusive jurisdiction over an appeal from an

Interlocutory Order of a district court of the United States. 28 U.S.C.A. § 1292 (West

2017).



                                     Page 1 of 3
      Defendant requests permission from this Court to petition the 11th Circuit for

permission to appeal and stay the proceedings below.


      Respectfully submitted, this 5th day of October, 2017.

                                             /Sam Sliger/
                                             Georgia Bar No. 877273
                                             McDonald & Cody, LLC
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                                    Page 2 of 3
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UNITED STATES OF AMERICA,              *
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                                       *
LEONARDO STEEPLE et al.,               *
                                       *
      Defendant.                       *

                         CERTIFICATE OF SERVICE
      I hereby certify that on the 5th day of October, 2017, I have prepared this

document using one of the font and point selections approved by the Court in L.R.

5.1.B. I further certify that I have electronically filed the aforementioned Request

for Permission to Appeal with the Clerk of Court by using the CM/ECF system and

emailed a courtesy copy to the following attorney of record:

             William Louis McKinnon, Jr.
             Office of United States Attorney
             Northern District of Georgia
             75 Spring Street, S.W.
             600 United States Courthouse
             Atlanta, GA 30303
             404-581-6000
             Email: william.mckinnon@usdoj.gov
      Respectfully submitted,
                                                     /Sam Sliger/
                                                     Attorney for Steeple

                                      Page 3 of 3
